                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


In the Matter of:

TREVOR L. BENNETT AND
LORRA J. BENNETT,                                  Case No. 08-65203-MBM
                                                   Chapter 7
     Debtors.                                      HON. MARCI B. MCIVOR
         ______               /

                         TRUSTEE'S EX-PARTE MOTION TO:
                 REOPEN BANKRUPTCY CASE UNDER 11 U.S.C. § 350(b);
                                DEFER FILING FEE;
                     WITHDRAW TRUSTEE’S NO-ASSET REPORT; AND
                            APPOINT CHAPTER 7 TRUSTEE

     NOW COMES, Kenneth A. Nathan, Trustee in Bankruptcy for the above
Debtor, and states as follows:
     1.        On October 15, 2008, the above Debtors filed a Chapter 7
Bankruptcy.
     2.        Kenneth A. Nathan was appointed Chapter 7 Trustee of said
matter.
     3.        The Debtors’ §341 Meeting of Creditors was scheduled by the
Court and held on December 2, 2008 at which time the Debtors testified to
the truthfulness of their assets and liabilities.
     4.        On or about December 6, 2008, the Trustee filed his Report of
Trustee   In    No-Asset    case   due   to       the    fact   that,   according   to   the
investigation by the Trustee and sworn testimony of the Debtors, all
assets were listed and properly and fully exempt.
     5.        On or about July 8, 2009 the Court entered an order closing
this case.
     6.        On or about April, 17, 2018, the Trustee was contacted and
advised that a settlement had been reached regarding Lorra J. Benentt’s
injuries related to her January 26, 2004 transvaginal mesh implant.
     7.        The claim arose prior to the filing for relief and was not
scheduled by the Debtors.
     8.        A case may be reopened to administer assets, to accord relief
for the Debtors, or for other cause.                    See 11 U.S.C Section 350(b) and
Federal Rule Bankruptcy Procedure 5010.



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     9.         Pursuant   to    Bankruptcy      Rule    5010,   a   trustee     shall   not   be
appointed by the United States Trustee unless the Court determines that a
trustee    is    “necessary     to   protect     the    interests    of    creditors     and the
Debtor or to ensure efficient administration of the estate.”
     10.        In this case, it is vital that a trustee be appointed to
administer      the   assets,    solicit   and       review   claims      and   distribute     the
proceeds to creditors.               A trustee is the only party who could most
efficiently administer any assets.
     11.        The Trustee seeks to hold in abeyance the payment of the
filing fee due upon the reopening of this case pending a recovery of any
assets as there are presently no assets in the estate for which to pay
the filing fee.
     12.        The Trustee seeks to withdraw the No Asset Report filed on or
about December 6, 2008, in lieu of a potential distribution to unsecured
creditors.
     WHEREFORE, for all the reasons stated herein, Kenneth A. Nathan,
former Chapter 7 Trustee in the above captioned proceedings, respectfully
requests this Honorable Court grant the relief requested herein.


                                      Respectfully submitted,

                                      NATHAN LAW, PLC

                               By:    /s/Kenneth A. Nathan
                                      Kenneth A. Nathan (P39142)
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Dated: June 18, 2018




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                                                     Chapter 7
     Debtors.                                        HON. MARCI B. MCIVOR
         ______               /

                               EX-PARTE ORDER:
                               1. REOPENING CASE;
                           2. DEFERRING FILING FEE;
                3. WITHDRAWING TRUSTEE’S NO ASSET REPORT; AND
                            4. APPOINTING A TRUSTEE

     THIS   COURT   having     considered          the   Trustee's   Ex-Parte       Motion   for
Order Reopening Case, Deferring the Filing Fee, Withdrawing Trustee’s No
Asset Report and Appointing a Trustee, and it appearing that Debtor may
have intentionally mislead the Court as to her assets and said asset
appears to be an asset of the Debtors’ estate; and the Court being fully
advised in the premises;


     IT IS HEREBY ORDERED:
     1. The instant proceeding be reopened.
     2. The   filing    fee    for   reopening           this   matter   be   and    is   hereby
        deferred to the end of the case.
     3. The Trustee’s No Asset Report be withdrawn; and
     4. The U.S. Trustee shall appoint a new trustee.




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